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COMES NOW Memphis Publishing Company, d/b/a 'I`he Ceml: Extension of
t to Federal Rule of Civil Procedure 7 , With tlns Motlon or
(MPC), pursuant l
Time to file Answer in Civil Actlon No 05-2475DV.

On July 5 Penelope Wolfe tiled, with this court, Civil Action No. 05-2475DV.

3 - f
Said action was served on defendant on July 8, 2005, semng a due date for the answer o
my 28, 2005.

By agreement with plaintist counsel, said deadline has been extended until
Monday, August 29, 2005.

Defendant Memphis Publishing Comp any respectfully requests that the court grant
this motion.

Respectfully submitted,

wC\-’N'CM f ’ F¢A.AA»~
Warren C. Funk (TN BPR No. 6947) -. MOT| R A
Counsel for the Memphis Publishing Company § n _oN GO , N.l:}E/D
495 Union Avenue, Memphis, TN 38103 3 '
Telephone 901/529-2631; fax 901/529-2618

     
     
 
 

BERN\CE BOU|E DONALD
U.S. D!STR|CT JUDGE
Thfs document entered on the docket sh

with Hu!e 58 and/or 79{a) FHCP on "

Case 2:05-cv-02475-BBD-dkv Document 4 Filed 07/20/05 Page 2 of 3 Page|D 2

CERTIFICA_TE oF §ERVICL
I, Warren C. Funk, hereby certify that a true and correct copy of this foregoing

Motion for Extension of Time for Filing of Answer to Compla.int Was served on the

111
y O"'day ofJuly, 2005:

Via Hand Delivery To:

Ms. Kathleen Caldwell
2080 Peabody Avenue
Memphis, TN 38104

w W(_» F:uwt,)/
Warren C.thk

TN BPR No. 6947
Counsel for Mernphis Publishing Compa.ny

495 Union Avenue, Memphis, TN 38103
Telephone 901/529-2631; fax 901/529-2618

ISTRICT COURT - ESTRNE ISRICT oF TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:05-CV-02475 Was distributed by faX, mail, or direct printing on
July 21, 2005 to the parties listed.

 

 

Kathleen L. Caldwell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

i\/lemphis7 TN 38104

Warren C. Funk

l\/[El\/[PH[S PUBLISHING CO.7 INC.
495 Union Ave.

i\/lemphis7 TN 39103

Honorable Bernice Donald
US DISTRICT COURT

